   Case 21-30589-MBK Doc 1226 Filed 01/21/22 Entered 01/21/22 16:07:41                            Desc Main
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UNITED STATES BANKRUPTCY COURT            Page 1 of 5
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)




                                                                         Order Filed on January 21, 2022
                                                                         by Clerk
                                                                         U.S. Bankruptcy Court
                                                                         District of New Jersey



In Re:                                                   Case No.:                     21-3058+9
 LTL Management LLC
                                                         Adv. No.:

                                                         Hearing Date:

                                                         Judge:                    Michael B. Kaplan


  JOINT STIPULATION AND AGREED ORDER BETWEEN THE OFFICIAL COMMITTEE OF
     TALC CLAIMANTS I AND THE OFFICIAL COMMITTEE OF TALC CLAIMANTS II
         REGARDING PLEADINGS PREVIOUSLY FILED




         The relief set forth on the following pageis hereby ORDERED.




DATED: January 21, 2022
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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
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   In re:
                                                      Chapter 11
   LTL MANAGEMENT LLC,
                                                      Case No.: 21-30589 (MBK)
                           Debtor.
                                                      Honorable Michael B. Kaplan

                  JOINT STIPULATION AND AGREED ORDER BETWEEN
                 THE OFFICIAL COMMITTEE OF TALC CLAIMANTS I AND
                  THE OFFICIAL COMMITTEE OF TALC CLAIMANTS II
                      REGARDING PLEADINGS PREVIOUSLY FILED

            The relief set forth on the following pages is hereby ORDERED.




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         This stipulation and agreed order (this “Stipulation”) is made on this 11 th day of January,

 2022 (the “Stipulation Date”) by the Official Committee of Talc Claimants I (the “TCC I”) and

 the Official Committee of Talc Claimants II (the “TCC II”) regarding pleadings previously filed

 in the above-captioned chapter 11 case (the “Case”) of LTL Management LLC, the debtor and

 debtor-in-possession (the “Debtor”) in the Case.

                                               Recitals

         WHEREAS, on October 14, 2021, the Debtor filed a voluntary petition for chapter 11 relief

 in the United States Bankruptcy Court for the Western District of North Carolina, Charlotte

 Division (the “NC Bankruptcy Court”) [Docket No. 1];

         WHEREAS, on November 8, 2021, the NC Bankruptcy Court entered an order appointing

 the Official Committee of Talc Claimants (the “Initial Joint Committee”) [Docket No. 355];

         WHEREAS, on November 16, 2021, the NC Bankruptcy Court entered an order

 transferring venue of the Case to the United States Bankruptcy Court for the District of New Jersey

 (the “Court”) [Docket No. 416];

         WHERAS, on December 23, 2021, Andrew R. Vara, the United States Trustee for Region 3

 (the “U.S. Trustee”), filed a notice reconstituting and amending the Initial Joint Committee and

 appointing the TCC I and the TCC II [Docket No. 965]; and

         WHEREAS, prior to the Stipulation Date, the Initial Joint Committee advanced several

 motions, pleadings, and related court filings in this Case implicating the interests of both the TCC I

 and the TCC II.

         NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, AND UPON

 APPROVAL BY THE BANKRUPTCY COURT OF THIS STIPULATION, IT IS SO ORDERED

 AS FOLLOWS:



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         1.     All motions, pleadings, and related court filings in this Case filed by the Initial Joint

 Committee prior to the Stipulation Date, whether in the NC Bankruptcy Court or the Court, other

 than retention applications, shall be deemed filed separately by each of the TCC I and the TCC II

 (the “Prior Initial Joint Committee Motions”).

         2.     TCC I and the TCC II shall each have the discretion to determine and pursue the

 manner in which each such Committee may prosecute (or not prosecute) any of the Prior Initial

 Joint Committee Motions.

         3.     This Stipulation shall constitute the entire agreement and understanding of the

 TCC I and the TCC II relating to the subject matter hereof and supersedes all prior agreements and

 understandings between the TCC I and TCC II relating to the subject matter hereof.

         4.     The Court shall retain jurisdiction to resolve any disputes, controversies, or

 ambiguities arising from this Stipulation.


 AGREED AS TO FORM AND SUBSTANCE:



 SHERMAN, SILVERSTEIN,                                  GENOVA BURNS, LLC
 KOHL, ROSE & PODOLSKY, P.A.                            Proposed Local Counsel to the
 Proposed Local Counsel to the                          Official Committee of Talc Claimants I
 Official Committee of Talc Claimants II


 By:     /s/ Arthur J. Abramowitz                       By:     /s/ Daniel M. Stolz
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         Ross J. Switkes                                        Donald W. Clarke
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 Dated: January 11, 2022                                        Dated: January 11, 2022




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